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EXHIBIT B
Case: 5:22-cv-01454-CEH Doc #: 1-5 Filed: 08/15/22 2 of 3. PagelD #: 22

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ig Gmail

Ginail - Order #1076 confinned

Karl Forsell <fforce@gmail.com>

Order #1076 confirmed

1 message

FPGA Land <noreply@fpga.land>
To: frsl@fimb net

FPGA Land

7 June 2018 at 15:25

ORDER #1076

Thank you for your purchase!

Hi Cart, we're getting your order ready to be shipped. We will notify you when it

has been sent.

View your ordar

Order summary

16GB

VCU1525 - Blockchain Edition (With Mods) x 4

or Visit our store

$14,400.00
Subtotal $14,400.00
Shipping $130.64
Total $14,530.64 USD
Paypal $14,530.64

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TAIO21 Gruait - Order #1076 confirmed

Customer information

Shipping address Billing address

Carl Forsell Carl Forsell

8 St Martin's Dr 8 St Martin's Dr

#03-21 St Martin Residence #03-21 St Martin Residence
Singapore 258005 Singapore 258005
Singapore Singapore

Shipping method Payment method
Worldwide Paypal — $14,530.64

if you have any questions, reply to this email or contact us at noreply@{pga.land

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